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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   CHARLESTON DIVISION

    Ryan Koenig and Kellie Everett,                               C/A No. 2:18-cv-03599-DCN

                                         Plaintiffs,
                                                           PLAINTIFFS’ MOTION TO PRECLUDE
            v.                                             EXPERT TESTIMONY OF STEPHANIE
                                                                 BORZENDOWSKI AND
    Edward Johnson,                                           MEMORANDUM IN SUPPORT

                                        Defendant.

            Plaintiffs respectfully ask this Court to preclude any expert testimony of Stephanie

Borzendowski as her testimony fails to meet the reliability thresholds of Federal Rule of Evidence

702, Daubert¸1 and its progeny.

      I.         FACTS AND RELEVANT TESTIMONY

            This case involves an incident that occurred on December 5, 2017, when the Plaintiffs were

hit by a car driven by Defendant Johnson who was stopped in the parking lot of a private business,

James Island Cleaners, waiting to turn right onto Maybank Highway. Johnson testified “I pulled up.

I looked to the right. I didn’t see anybody. I looked to the left, and then I went.” Johnson Depo p.22,

lines 13-15, excerpts attached as Exhibit A. Plaintiff Koenig had no memory of the incident, due to

his catastrophic brain injury, but Plaintiff Everett testified to the following:

                   A: And then we were coming up on the -- on the vehicle on the
                   sidewalk, and the traffic was really heavy on Maybank. So as I was
                   getting closer to crossing in front of the -- car, I decided that there was
                   no possible way that he could be intending to turn out into that traffic.
                   I did look at him, but I couldn’t tell if I made eye contact or not.

                   And I continued walking in front of the car. And then while I was in
                   front -- around in front of the driver, he pulled forward and I was hit
                   and it knocked the coffee out of my hands. And then I believe he came
                   forward a second time, and at that point, I turned behind me and looked


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    Daubert v. Merrell Dow, 509 U.S. 579 (1993).
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                 at Ryan and saw him pinned underneath the wheel of the car. I
                 immediately started screaming at the driver to back up off of him, and
                 he did.

Everett Depo. p.15, lines 3-19, excerpt attached as Exhibit B.

        Stephanie Borzendowski, of Applied Building Sciences, was hired by the defense to perform

a “human factors investigation” and she issued a report attached as Exhibit C. Borzendowski had

several relevant opinions in her report. First, she opined that drivers turning right at a “T-junction”

were “significantly more likely to concentrate their glances to the near or far left ‘where the most

probably hazard was likely to appear’.” She further opined that when Johnson did look right that his

view was partially obscured or that the plaintiffs were far enough away where he did not view them

as a potential hazard. Therefore, “Johnson’s behavior was consistent with that of a reasonable driver.”

Finally, Borzendowski opined that drivers do not typically expect pedestrians to place themselves in

front of moving vehicles and that “[p]otentially dangerous interactions between road users can occur

when expectancies are violated” and that “Johnson would not have expected a pedestrian to walk in

front of his vehicle.” For the reasons set forth below, Borzendowski’s should be excluded from

testifying in this case.

        LEGAL STANDARD

        Federal Rule of Evidence 702 permits “[a] witness who is qualified as an expert by

knowledge, skill, experience, training, or education” to offer opinion testimony only if:

                 (a)       the expert’s scientific, technical, or other specialized knowledge will help
                           the trier of fact to understand the evidence or to determine a fact in issue;
                 (b)       the testimony is based on sufficient facts or data;
                 (c)       the testimony is the product of reliable principles and methods; and
                 (d)       the expert has reliably applied the principles and methods to the facts of the
                           case.

Fed. R. Evid. 702. Rule 702 imposes a “basic gatekeeping obligation” on the trial court to ensure




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that an expert witness “employs in the courtroom the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526

U.S. 137, 152 (1999). This is determined by whether the witness’s opinion “rests on a reliable

foundation,” i.e., “whether the reasoning or methodology underlying the testimony is scientifically

valid”—and whether the opinion is “relevant to the task at hand.” Daubert v. Merrell Dow Pharm.,

Inc., 509 U.S. 579, 582-83, 597 (1993); Nease v. Ford Motor Co., 848 F.3d 219, 230 (4th Cir.

2017) (“Rule 702 imposes a special gatekeeping obligation on the trial judge to ensure that an

opinion offered by an expert is reliable.”) (citation omitted), cert. denied, 137 S. Ct. 2250, 198

L.Ed. 2d 680 (2017). The proponent of expert testimony must demonstrate that the testimony

satisfies these requirements. Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001)

(“The proponent of the testimony must establish its admissibility by a preponderance of proof.”).

       In Daubert, the Supreme Court set forth non-exclusive factors on which district courts may

rely in evaluating whether a proposed expert has used a reliable methodology to arrive at his or

her opinion: “(1) whether a theory or technique can be or has been tested; (2) whether it has been

subjected to peer review and publication; (3) whether a technique has a high known or potential

rate of error and whether there are standards controlling its operation; and (4) whether the theory

or technique enjoys general acceptance within a relevant scientific community.” Cooper, 259 F.3d

at 199. Which factors to consider is based on the facts of the case and left to the discretion of the

district court. Kumho Tire, 526 U.S. at 152; Daubert, 509 U.S. at 593. Nevertheless, “[f]ailure to

satisfy any of the four reliability factors recognized in Daubert is sufficient to preclude the

testimony of any of the general causation experts from testifying at trial.” Chapman v. Procter &




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Gamble Distrib., LLC, 766 F.3d 1296, 1307 (11th Cir. 2014) (citing Daubert, 509 U.S. at 593–

94), cert. denied, 135 S. Ct. 2312 (2015)). 2

          Although the Daubert inquiry should “focus . . . on principles and methodology” rather

than the proposed expert’s conclusions, “conclusions and methodology are not entirely distinct

from one another.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). Expert opinions should

be “connected to existing data” by something other than “the ipse dixit of the expert,” and where

“there is simply too great an analytical gap between the data and the opinion proffered,” the opinion

should be excluded. See id. (citation omitted); see also Holesapple v. Barrett, 5 Fed. App’x 177,

180 (4th Cir. 2001) (“[I]t still is a requirement that the expert opinion evidence be connected to

existing data by something more than the ‘it is so because I say it is so’ of the expert.”).

    II.      ARGUMENT

          Borzendowski’s initial opinion, that drivers were more likely to concentrate their glances to

the left when turning right, is based on a mis-application of the literature to the facts of this case.

When further exploring this opinion in her deposition, the literature Borzendowski relied on dealt

with the scenario where a driver was turning left and there were no other hazards for the driver to deal

with. Borzendowski Depo p.56, line 5-p.58, line 12, excerpts attached as Exhibit D. Borzendowski

agreed, in her deposition, that the illustration in the literature, attached as Exhibit E, was not like

Johnson’s situation because there was an additional variable, a sidewalk with potential pedestrian



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        The advisory committee notes to Rule 702 provide that other factors that a court may
consider are “[w]hether the expert is proposing to testify about matters growing naturally and
directly out of research he has conducted independent of the litigation, or whether he has developed
his opinion expressly for purposes of testifying,” “[w]hether the expert ‘is being as careful as he
would be in his regular professional work outside his paid litigation consulting,’” “[w]hether the
expert has unjustifiably extrapolated from an accepted premise to an unfounded conclusion,” and
“[w]hether the expert has adequately accounted for obvious alternative explanations.” Fed. R.
Evid. 702 advisory committee’s note to 2000 amendment.
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traffic coming from either direction, that Johnson had to deal with. Borzendowski Depo p.58, line 13-

p.60, line 14. Further, the purpose of the paper was to determine whether younger drivers tended to

gaze towards potential hazards versus older drivers who gazed more in the direction they were

traveling. Borzendowski Depo p.60, line 15-p.62, line 18.

        The purported scientific research cited by Borzendowski has no applicability to the facts of

this case since Johnson was faced with turning right and having to cross a sidewalk and deal with

potential pedestrian traffic. For Borzendowski to testify that the immediate hazard to Johnson was

traffic coming from his left, rather than the pedestrians coming from his right, who he has an absolute

duty to yield to, is not only not based on any scientific evidence it would also just confuse the jury

and would amount to nothing more than allowing an expert to make an excuse for why Johnson hit

the plaintiffs.

        Borzendowski’s opinion with regard to expectancy is similarly flawed. The opinion that

drivers do not expect that pedestrians will place themselves in the path of a moving vehicle is based

on another paper which states, “pedestrians will cooperate in this endeavor as well and not place

themselves in a path of a car when the latter clearly has the right of way.” Excerpt attached as Exhibit

F. In her deposition, Borzendowski agreed that in this case the pedestrians, the plaintiffs, had the right

of way, but reiterated her opinion that drivers still have an expectancy that a pedestrian will not place

themselves in the path of a moving vehicle. Borzendowski then agreed that the plaintiffs had not

placed themselves in the path of a moving vehicle because it was clearly not moving when they

walked in front of it. Borzendowski Depo p.63, line 3-p.66, line 12.

        Finally, Borzendowski opines that “it is possible that when Johnson looked right, his vehicle

at least partially obscured his view of the plaintiffs.” Borzendowski Report p.4. In her deposition,

Borzendowski testified “I don’t think it’s reasonable to say that it [the A-pillar in Johnson’s vehicle]



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obstructed the view of pedestrians that were in motion the entire time they were in motion.”

Borzendowski Depo. p.40, lines 7-10. Although she then testified that, generally speaking, it is

possible that an A-pillar may block an entire pedestrian or pedestrians and later admits that she cannot

testify to a reasonable degree of scientific certainty that the plaintiffs were ever completely obstructed

from Johnson’s view. Borzendowski Depo. p.40, lines 10-16; p.41, line 8-p.43, line 3.

           There is no evidence, and no expert testimony, that the view of the plaintiffs was ever

completely obstructed by the A-pillar and passenger side mirror in Johnson’s vehicle. The opinion

that the plaintiffs may have been partially obstructed at some point is irrelevant, misleading, and

potentially confusing to a jury. Because what this means is that the plaintiffs were at least partially in

view for many seconds prior to them walking in front of Johnson’s vehicle. Whether they were ever

partially obstructed by Johnson’s vehicle or not, some portion of one or both of the plaintiffs would

have still been visible to Johnson, especially given the fact that the plaintiffs were in motion and

walking at a steady pace during the sequence of events. There is simply no factual issue in the case

that this testimony could help the jury decide and that testimony should be excluded.

    III.      CONCLUSION

           Borzendowski’s testimony, while perhaps initially appealing to the defense, falls apart very

quickly upon a glancing inspection. The literature Borzendowski relied on in opining about Johnson’s

gaze was not applicable to the situation Johnson faced and would only confuse a jury. Obviously,

South Carolina drivers are responsible for looking out for numerous hazards that may exist, not just

one. Further, the testimony about expectancy is clearly not applicable, since the plaintiffs had the right

of way and did not step in front of a moving vehicle. The Johnson vehicle was stopped, the plaintiffs

had the right of way, and walked in front of a stopped vehicle which then accelerated suddenly and

hit them. And any testimony about “partial obstruction” will only confuse the jury and is certainly not



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helpful in deciding any factual issues in this case. For all of these reasons, Plaintiffs request this Court

preclude any expert testimony of Stephanie Borzendowski.

                                                 Respectfully submitted,

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